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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF LOUISIANA


 DORY TURNIPSEED                                           CIVIL ACTION

 VERSUS                                                    No. 18-5187

 APMT, LLC, d/b/a Tonti                                    SECTION: “J”(4)
 Management


                                       ORDER

       Before the Court is Defendant’s Motion to Dismiss Pursuant to Fed. R. Civ. P.

41(b) for Failure to Prosecute (Rec. Doc. 42).

      On August 15, 2022, Defendant filed a Motion to Dismiss in accordance with

Fed. R. Civ. P. 41(b) for failure to prosecute. (Rec. Doc. 35). On October 13, 2022, this

Court issued an Order denying the Motion because the record contained insufficient

evidence of Plaintiff’s contumacious conduct warranting dismissal with prejudice

(Rec. Doc. 41). The Court gave Plaintiff thirty (30) days from entry of the Order- or

until November 12, 2022- within which to initiate arbitration proceedings. On

November 18, 2022, Defendant filed the instant motion to dismiss for failure to

prosecute, arguing that Plaintiff failed to file a timely demand for arbitration nor pay

the necessary fees for arbitration. This Court ordered that Plaintiff’s opposition be

filed by December 6, 2022.

      Additionally, Local Rule 7.5 of the Eastern District of Louisiana requires that

memoranda in opposition to a motion be filed eight (8) days prior to the date set for

hearing on the motion. No memorandum in opposition to Defendant’s Motion, set for
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submission on December 14, 2022, was submitted. Accordingly, the motion to dismiss

is deemed to be unopposed. Further, it appearing to the Court that the motion has

merit,

         IT IS ORDERED that the motion (Rec. Doc. 42) is GRANTED. Plaintiff’s

claims and this action are hereby dismissed with prejudice.

         New Orleans, Louisiana, this 9th day of December, 2022.




                                        CARL J. BARBIER
                                        UNITED STATES DISTRICT JUDGE




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